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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. ________________


EMMY TAYLER,

         Plaintiff,

v.

JULIE K. BROWN and
HARPERCOLLINS PUBLISHERS LLC,

      Defendants.
_______________________________/

                                            COMPLAINT

         Plaintiff Emmy Tayler sues Defendants Julie K. Brown and HarperCollins Publishers LLC

for publishing false and defamatory statements in the book, Perversion of Justice: The Jeffrey Epstein

Story.

                             PARTIES, JURISDICTION AND VENUE

         1.      Plaintiff Emmy Tayler (“Plaintiff” or “Tayler”) is a citizen of the United Kingdom.

         2.      Defendant Julie K. Brown (“Brown”) is a Florida citizen and the author of Perversion

of Justice: The Jeffrey Epstein Story.

         3.      Defendant HarperCollins Publishers LLC (“HarperCollins”), the publisher of

Perversion of Justice: The Jeffrey Epstein Story is a Delaware limited liability company with its

principal place of business in New York.

         4.      This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1332(a), as the

amount in controversy exceeds $75,000.00 and Plaintiff, a citizen of the United Kingdom, and

Defendants, citizens of Florida and New York, and are diverse.

         5.      This Court has personal jurisdiction over Defendants under the Florida long-arm


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statute, § 48.193(a), (b), Florida Statutes, and the Due Process Clause of the United States

Constitution.

        6.       Venue is also proper in this Court because a substantial part of the events giving rise

to the claim occurred in this District.

                                        FACTUAL BACKGROUND

        7.       On or around July 20, 2021, HarperCollins published a book written by Defendant

Julie K. Brown entitled: “Perversion of Justice: The Jeffrey Epstein Story” (“Perversion of Justice”

or the “Book”).

        8.       Despite claiming that the Perversion of Justice was the product of serious

investigative journalism by an award-winning Miami Herald journalist who has written extensively

about the Epstein scandal, Defendants defamed Plaintiff by falsely identifying her as a co-

conspirator, aider and abettor, facilitator and/or assistant in Jeffrey Epstein’s sexual abuse pyramid

scheme.

        9.       Perversion of Justice was marketed by the Defendants as a “definitive account of the

Epstein case” and contained an “author’s note,” which states that “all information contained in this

book is from my own reporting and interviews 1 or court or government records,” thus presenting the

Book as one that could be trusted by readers as an authoritative source of information.

        10.      The Book, however, falsely stated that Plaintiff worked for and arranged Jeffrey

Epstein’s “massage” schedule in 2005 when he was a prolific pedophile who regularly sexually

abused underage girls under the guise of paying them to receive “massages.” This defamatory

statement therefore falsely paints Plaintiff as a co-conspirator and aider and abettor of Epstein who

facilitated the pedophilia of a notorious child abuser. In particular, the defamatory statements are as

follows:


1
  On this point, it bears noting that Brown never attempted to approach Plaintiff for an interview; instead, Defendants
elected to defame Plaintiff without regard for the dire consequences she would suffer.
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           Shortly thereafter, a silver-haired man with a long face and bushy eyebrows entered
           the kitchen, along with a young woman who appeared to be about Haley’s 2 age.
           His name was Jeffrey. The young woman’s name, police would later learn, was
           Emmy Tayler. At the time, Tayler arranged Epstein’s massage schedule and also
           worked as Maxwell’s assistant. After the introductions, Tayler led Jane Doe 1 up a
           spiral staircase from the kitchen to a master bedroom and bath. Jane told police she
           became anxious as Tayler put up a folding massage table and laid out a bunch of
           oils. “Jeff will be up in a minute”, she told Jane. There has been nothing to suggest
           that Tayler was aware of what happened in the room nor that she participated in
           any sexual activity.

           “There was a big bathroom. I mean it was humongous,” Jane told police. “Like a
           zillion people could be in that shower…and there was the big couch in there, it was
           pink and green. Hot pink and green. And a table with a phone on it. And during the
           massage he made a phone call but I don’t remember what he said. He just said, like,
           four words and then hung up.”

           She figured she could be in and out of there with her money after a quick massage,
           but as Epstein ended the call, he firmly ordered her to take off all her clothes.

           Suddenly, she realized she was all alone, and that no one except Haley knew where
           she was. Robson was nowhere to be seen. She feared what this creepy man was
           going to do to her. She nervously disrobed, leaving only her bra and panties on.

           “I didn’t know what to do because I was the only one up there, so I just took off my
           shirt and I was in a bra, and when he came in, and had a towel over him, he was
           like, ‘No, take off everything.” And he said, ‘Now you can get on my back.”

           Jane Doe 1 3 told police Epstein directed her to straddle him as he laid on his
           stomach. He instructed her to rub his back by moving her hands in a circular
           fashion, clockwise.

           He then told her to climb down, and he rolled over and dropped his towel, exposing
           himself. He began stroking his penis with one hand, while reaching over with his
           other hand to fondle her breasts under her bra. He placed a vibrator between her
           legs. She was disgusted by his hairy back and thought that he must have been on
           steroids because his body was muscular but his penis was egg-shaped and small.

           As she told Pagan the story, Jane Doe 1 wept and pressed her finger hard against
           her thigh, recalling how Epstein admired her body and told her how she was
           sexually arousing him.

           “It was disgusting, and I couldn’t and I couldn’t even look,” she said.

           Epstein asked her how she knew Haley, how old she was, what grade she was in,

2
    Hayley Robson has also sued Brown for defamation for false statements contained in the Book.
3
    Jane Doe 1’s police report of this incident catalyzed law enforcement’s investigation of Epstein.
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       and what school she went to. She lied, telling him she was an eighteen-year-old
       senior at Wellington High School.

       It was not clear how long she was in the room, but after he ejaculated, he ordered
       her to get dressed and gave her three hundred dollars. He told her to leave her name
       and phone number with his assistant. And then he went into the shower.

       11.     In fact, Plaintiff did not even live in Palm Beach, Florida in 2005 and was not

Epstein’s assistant, and she never led fourteen-year-old Jane Doe 1 to Epstein’s “massage” lair in

order for him to sexually abuse this child.

       12.     From 1997 to 2001, Plaintiff was employed in London and then New York as an

assistant to Ghislaine Maxwell. In 2002, she moved to Los Angeles. In 2007, she returned to the UK,

where she now resides and is a sole caregiver for a close family member.

       13.     To be clear, Plaintiff was not employed by Maxwell at the time of the said 2005

incident with Jane Doe 1 in Palm Beach, Florida described in the Book, and, in fact, was living and

working in Los Angeles, California at the time of the incident.

       14.     Indeed, the 2006 Palm Beach Police Department Report the Book purports to partially

rely on contains no such allegations against Plaintiff. The Police Report contained details of the Jane

Doe 1 incident but named Sarah Kellen (who was in fact Epstein’s assistant in 2005) as the individual

who had shown Jane Doe 1 to Epstein’s bedroom and included details that are almost identical to

those in the Book.

       15.     Furthermore, HarperCollins has even conceded that the Book falsely identified

Plaintiff in the above-cited passage.

       16.     Prior to the Book’s publication, Plaintiff’s representatives contacted HarperCollins

and were falsely informed that: “the only reference to your client in the Book is as someone who did

administrative work.”

       17.     In an apparent response to Plaintiff’s attempt to prevent the very defamation at the

crux of this case, Defendants included a tacked-on “disclaimer” in the Book regarding Plaintiff.

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Specifically, Defendants stated that “[t]here has been nothing to suggest that Tayler was aware of

what happened in the room nor that she participated in any sexual activity.” This statement, however,

did not dispel the defamatory statements that identified Plaintiff as a co-conspirator, aider and

abettor, assistant and facilitator of Epstein’s sexual abuse of a fourteen-year-old child.

        18.      Furthermore, despite Plaintiff’s repeated requests, Defendants have refused to recall

the Book and have failed to take sufficient steps to ensure that it is no longer available to purchase

or otherwise publicly available. 4

        19.      Because of these defamatory statements, Plaintiff’s reputation has been gravely

damaged, and she has been caused enormous and continuing distress, hurt, humiliation, and

embarrassment.

        20.      In particular, Plaintiff’s mental anguish and suffering were exacerbated as a result of

Defendants’ defamation. Plaintiff fears leaving her home, her mental health was and continues to be

severely impacted as a result of the Defendants’ defamation, and she has suffered severe panic

attacks. Her insomnia has been significantly aggravated and is now severe. These effects have

diminished Plaintiff’s ability to act as a sole caregiver for her immediate family member. In addition,

the effect on the immediate family member has increased the distress to Plaintiff.

        21.      As a result of her increased fear for her safety, Plaintiff has been forced to put in place

increased security measures.

                                                  COUNT I
                                                 Defamation
                                               (All Defendants)

        22.      Plaintiff repeats and realleges the allegations preceding the first count of this

Complaint as though fully set forth herein.



4
  Upon receiving a demand from Plaintiff, Defendants partially removed the defamatory statements from electronic and
audio iterations of the Book, and also removed a sample of the Book containing the defamatory statements from its
website, but HarperCollins has since reinstated the sample containing the defamatory statements on its website.
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         23.     Defendants published statements purported to be “facts” in an intentionally false,

malicious, negligent or otherwise defamatory manner, or with knowledge that the statements were

false or with reckless disregard of the truth, and distributed the same in Florida and throughout the

world.

         24.     All of the defamatory statements as set forth above published by Defendants

concerning Plaintiff Tayler are false and defamatory per se.

         25.     Defendants specifically and unambiguously stated that Plaintiff Tayler was working

for Epstein in 2005 and arranged his “massage” schedule to facilitate his sexual abuse of young girls.

This is false.

         26.     Defendants also specifically and unambiguously stated that Plaintiff Tayler was

present when fourteen-year old Jane Doe 1 was in Epstein’s house, that Plaintiff led Jane Doe up the

stairs to Epstein’s cavernous bathroom and master bedroom, put out a folding massage table and laid

out oils, leaving her alone with predator Epstein, who then sexually abused this child. This is false

(except for Epstein’s sexual abuse of Jane Doe 1).

         27.     Defendants caused the false and defamatory statements to be published with

negligence, knowledge of the statements’ falsity and/or with reckless disregard for the truth.

         28.     Defendant knew and/or intended that the defamatory statements would be widely

disseminated in the United States and around the world.

         29.     Defendants’ statements had, and continue to have, a defamatory effect, because they

have resulted in damage to the reputation and community standing of Plaintiff Tayler. The Book is

still freely available within Plaintiff’s local community – and worldwide – despite Defendants’

knowledge that Plaintiff never facilitated Epstein’s sexual abuse of fourteen-year old Jane Doe 1.

         30.     Furthermore, Plaintiff Tayler has suffered, and will continue to suffer shame,

humiliation, mental anguish, and hurt feelings as a result of Defendants’ statements. In particular,


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Defendants’ statements have severely impacted and affected Plaintiff Tayler’s mental health.

       WHEREFORE, Plaintiff Emmy Tayler respectfully requests that judgment be entered in her

favor and against Defendants for (a) damages, including, but not limited to, compensatory and

consequential damages, (b) an order enjoining Defendants to remove all defamatory statements

concerning Plaintiff from the Book and to take reasonable steps to recall prior versions of the Book

from the market, and (c) any and all such other and further relief as this Court deems just and proper.


                                  DEMAND FOR JURY TRIAL

       Plaintiff demands trial by jury of all issues so triable.

Dated: July 19, 2022
                                                       Respectfully submitted,
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